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VAN−103 Order Confirming Chapter 13 Plan − Rev. 01/05/2016

                             UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
                                                             Raleigh Division

IN RE:
Donna Lynn Holcomb                                                   CASE NO.: 16−02075−5−SWH
( known aliases: Donna Lynn Schultz )
7712 River Field Drive                                               DATE FILED: April 19, 2016
Raleigh, NC 27616
                                                                     CHAPTER: 13




                                        ORDER CONFIRMING CHAPTER 13 PLAN

THIS MATTER comes before the court upon the chapter 13 trustee's motion for confirmation; and

IT APPEARING to the court that notice of the motion for confirmation was served on all interested parties
to this case and no objections were filed or, if filed, have been resolved by separate order; and

That all other terms of the proposed plan remain as indicated in the trustee's motion.

NOW THEREFORE, IT IS HEREBY ORDERED:

That the plan in the above referenced case as noticed by the trustee is confirmed;

The trustee is directed to make payment of commissions and expenses to the trustee and fees and costs
to the debtor's attorney, Robert Lee Roland IV , in the amount of $4,335.00 as reasonable compensation,
of which the sum $0.00 was paid prior to the filing of this case. The balance of $4,335.00 shall be paid in
such a manner as may be authorized by the trustee. In the event the fee allowed is less than requested,
the debtor's attorney may request the court to reconsider the fee allowance upon appropriate motion for
reconsideration to be filed with the court within 20 days of entry of this order.

That the trustee is directed to pay administrative expenses and creditors with timely filed proofs of claim
pursuant to the plan; That the trustee make a final report and file a final account of the administration of the
estate with the court; That the debtor(s) shall not transfer any interest in real property without prior
approval of the court; That this order does not prejudice the debtor(s) or trustee from objecting to claims or
from bringing any applicable avoidance action.




DATED: July 29, 2016

                                                                        Stephani W. Humrickhouse
                                                                        United States Bankruptcy Judge
